
934 P.2d 640 (1997)
147 Or. App. 69
In the Matter of Kevin Montgomery, Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
Kevin MONTGOMERY, Appellant.
960666214; CA A93877.
Court of Appeals of Oregon.
Argued and Submitted January 15, 1997.
Decided March 12, 1997.
*641 Thomas A. Coleman argued the cause and filed the brief for appellant.
John T. Bagg, Assistant Attorney General, argued the cause for respondent. With him on the brief were Theodore R. Kulongoski, Attorney General, and Virginia L. Linder, Solicitor General.
Before RIGGS, P.J., and LANDAU and LEESON, JJ.
PER CURIAM
Appellant seeks reversal of an order continuing his commitment to the Mental Health Division. The state concedes that appellant was not advised of all of his rights pursuant to ORS 426.303 and that the failure to give the advice requires reversal. We agree with the state and appellant that in a proceeding for the continuation of a commitment, the alleged mentally ill person must be advised of the rights identified in ORS 426.301 and that, as with a failure to advise a person of his or her rights pursuant to ORS 426.100 in an initial commitment proceeding, the failure to give the advice is reversible error.
Reversed and remanded for a new trial.
